          Case 2:14-cv-02057-SMM         Document 106      Filed 10/23/15    Page 1 of 6



     QUARLES & BRADY LLP
     Gregory P. Sitrick
 2   Isaac S. Crum
     One Renaissance Square
 3   Two North Central Avenue
     Phoenix, Arizona 85004-2391
 4   Telephone: (602) 229-5317
     Facsimile: (602) 420-5198
 5   E-mail: Gregory .sitrick@quarles.com

 6   SEYFARTH SHAW LLP
     Christopher C. Larkin (admitted pro hac vice)
 7   2029 Century Park East
     Suite 3500
 8   Los Angeles, California 90067-3021
     Telephone: (31 0) 201-5289
 9   Facsimile: (310) 201-5219
     E-mail: clarkin@seyfarth.com
10
     Attorneys for Defendant and Counterclaimant
11   JACK DANIEL'S PROPERTIES, INC.

12                                 UNITED STATES DISTRICT COURT

13                                 FOR THE DISTRICT OF ARIZONA

14   VIP PRODUCTS, LLC,                                 Case No. CV-14-2057-PHX-SMM

15                    Plaintiff,                        DECLARATION OF CHRISTOPHER
                                                        HUNGERFORD IN SUPPORT OF
16          v.                                          MOTION FOR PARTIAL SUMMARY
                                                        JUDGMENT
17   JACK DANIEL'S PROPERTIES, INC.,

18                    Defendant.

19
     AND RELATED COUNTERCLAIMS
20
21          I, CHRISTOPHER HUNGERFORD, hereby declare:

22          l.    I am the Director of Global Design for Brown-Forman Corporation ("Brown-
23   Forman"), the licensee of defendant and counterclaimant Jack Daniel's Properties, Inc.
24   ("JDPI"). I make this declaration on the basis of my own personal knowledge and in support of

25   JDPI's motion for partial summary judgment.

26         2.     I have been employed by Brown-Forman since 1994, when I was an intern while a

27   student at the University of Louisville. I was hired full time by Brown-Forman as a designer in

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           DECLARATION OF CHRISTOPHER HUNGERFORD IN SUPPORT OF MOTION FOR PARTIAL SUMMARY
                                                                                 JUDGMENT
           Case 2:14-cv-02057-SMM         Document 106       Filed 10/23/15     Page 2 of 6



 1   1996 and subsequently have held a variety of positions with the company, including Associate
 2   Jack D~niel's Promotions Manager/Experiential Marketing Manager (2005-2007), Design
 3   Manager, Jack Daniel's Global Design (2007-2010), Group Manager, Production Design (2010-
 4   2012), Director, Experiential Design (2012-2013), and my current position. Between 2008 and
 5   2010, my sole responsibility was for all visual aspects of Jack Daniel's Old No.7 whiskey ,

 6   including the design of packaging. I was the design project manager for the modernization of
 7   the Jack Daniel's bottle and label between 2008 and 2011 discussed below, and participated in
 8   all aspects of the project. I currently oversee all design strategy, packaging creative, two-
 9   dimensional graphics communications, and three-dimensional experiential and office design, for
10   all brands in the Brown-Forman portfolio, including Jack Daniel's Old No.7 whiskey . As a
11   result of my employment with Brown-Forman and my review of the company's files and
12   records, I am fully familiar with the aesthetic design and labeling aspects of the packaging for

13   Jack Daniel's Old No.7 whiskey, including its history, and am also knowledgeable about the
14   packaging and labelling of competitive spirits .
15          3.     Jack Daniel's whiskey has been sold in the United States continuously since 1866
16   except during the periods of national and state Prohibition. Brown-Forman acquired the brand
17   in 1956 and has maintained archives of historical materials regarding the product and its bottling
18   and labelling, including collected photographs, actual bottles, and books. Attached hereto as
19   Exhibit 1 is a copy of an historical array of products entitled "Building Jack Daniel's" that
20   shows the packaging for Jack Daniel's Old No.7 whiskey from 1890 to the present. Although
21   Brown-Forman's historical archives are not complete given the length of time that the product
22   has been sold, I believe this to be an accurate representation of the product's packaging at
23   various points over that period. I believe that Jack Daniel's Old No.7 whiskey was first sold in
24   a square-shaped bottle in 1895 and has been sold in a square-shaped bottle since then except, as
25   shown on Exhibit 1, for a period of time following World War II when glass was in short supply
26   in the United States and the product was sold for a time in a rounder bottle. Attached hereto as
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                                           DECLARATION OF CHRISTOPHER HUNGERFORD IN SUPPORT OF
                                                         MOTION FOR PARTIAL SUMMARY JUDGMENT
           Case 2:14-cv-02057-SMM         Document 106       Filed 10/23/15      Page 3 of 6



 1   Exhibit 2 are pages from a book entitled A Tennessee Legend written by the Jack Daniel

 2   Distillery in 1992 showing a square bottle from 1895.

 3          4.     As shown in Exhibit 1, Jack Daniel's Old No. 7 whiskey has used a white-on-

 4   black label color scheme since some time prior to the beginning of national Prohibition in 1919.

 5   Not all products in the line appear to have borne that label following the repeal of national
 6   Prohibition, but according to Brown-Forman's archives, a white-on-black label was in consistent

 7   use starting at least as early as the 1950s. Attached hereto as Exhibit 3 are copies from Brown-
 8   Forman's archives and the archives of the Jack Daniel Distillery of a 1944 Certificate of Label

 9   Approval ("COLA") issued by the Treasury Department for Jack Daniel's No. 7 whiskey and of

10   a 1953 COLA issued by the Treasury Department for Jack Daniel's Old No.7 whiskey. The

11   1953 COLA displays a label that bears many of the features of today's label, including a

12   filigreed border, the JACK DANIEL'S mark depicted in arched lettering at the top of the label,

13   the OLD NO.7 mark contained within a filigreed oval design in the middle portion of the label

14   beneath the JACK DANIEL'S mark, and the words ''Tennessee Sour Mash Whiskey" in the

15   lower portion of the label with the word ''Tennessee" depicted in script.

16          5.     Attached hereto as Exhibit 4 are copies from Brown-Forman's archives of print

17   advertisements that state that they appeared in October and December 1956 in Time magazine

18   and other publications. The advertisements show the label on a square-shaped bottle. The
19   product is characterized in one ad as "unchanged in its rareness, from the square bottle with the

20   old-fashioned black label" and in the other as appearing in the "old-fashioned square bottle with

21   the famous black label." I believe that from sometime in the 1950s, as shown on Exhibits 1 and

22   3, Jack Daniel's Old No.7 whiskey was sold in a square bottle with a white-on-black label

23   bearing the textual and graphic elements shown in the 1953 COLA. The use of a black neck

24   wrap with white printing bearing the OLD NO.7 mark appears to have commenced at some

25   time in the 1960s.
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27   Ill
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                                           DECLARATION OF CHRISTOPHER HUNGERFORD IN SUPPORT OF
                                                         MOTION FOR PARTIAL SUMMARY JUDGMENT
           Case 2:14-cv-02057-SMM         Document 106       Filed 10/23/15      Page 4 of 6



 1          6.     The current packaging of Jack Daniel's Old No.7 whiskey is shown below:

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13   This packaging was the culmination of a project that commenced in about 2008 and concluded
14   in 2011 . I was involved in all aspects of that project. Its objective was to modernize and refine

15   the packaging, including its bottle and labelling, while retaining the source-identifying elements

16   of the previous packaging. The new bottle was referred to internally as the "Evolution Bottle,"

17   reflecting how we viewed the incremental nature of the changes. The current packaging retains

18   a combination of a square-shaped bottle, a black cap, a black neck wrap with the OLD NO.7

19   mark in white, a white-on-black front label with the JACK DANIEL'S mark in arched lettering

20   at the top of the label, the OLD NO.7 mark in a filigreed oval in the middle portion of the label

21   beneath the JACK DANIEL'S mark, and the words ''Tennessee Sour Mash Whiskey" in the

22   lower portion of the label with the word ''Tennessee" depicted in script.

23         7.       The changes to the packaging are described on Exhibit 5 attached hereto, which

24   is a piece that was put together by Brown-Forman's Global Marketing team to enable the Jack
25   Daniel's sales team to explain to distributors, partners, and agencies what changed about the

26   packaging and why. As stated on Exhibit 5, the Evolution Bottle has wider neck fluting, more

27   square shoulders, and sharper edges and facets. These changes were intended and made to give

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                                           DECLARATION OF CHRISTOPHER HUNGERFORD IN SUPPORT OF
                                                         MOTION FOR PARTIAL SUMMARY JUDGMENT
           Case 2:14-cv-02057-SMM          Document 106       Filed 10/23/15     Page 5 of 6



 1   the package a sleeker, cleaner, and more contemporary look, to convey the brand's historical
 2   attribute of masculinity through the bottle's "stronger" shoulders, and to enhance the perception

 3   of the premium nature of the product. They were design choices made to enhance the look of

 4   the bottle. They were not intended to make the bottle cheaper or easier to manufacture, or easier

 5   to fill, label, ship, display, or use. Similarly, the use of an embossed "Jack Daniel" signature on

 6   the Evolution Bottle was a design choice intended and made to convey aesthetically a sort of
 7   "seal of approval" for the product from its namesake, Jack Daniel. The embossed signature was

 8   not intended to make the bottle cheaper or easier to manufacture, or easier to fill, label, ship,

 9   display, or use.

10          8.     Changes made to the label are also described on Exhibit 5. They primarily

11   involved "unci uttering" the label through the removal of elements such as the words "Old Time"

12   and "Quality" on the front of the label and certain text and images on the side labels. As with

13   the bottle redesign, these changes were intended and made to give the package a more

14   contemporary look while retaining the historical design features of the label. These changes

15   were pure design choices, as were the historic decisions to depict the OLD NO.7 mark in white

16   on the black neck wrap, to depict the JACK DANIEL'S mark in an arched format on the top of

17   the label, to depict the OLD NO.7 mark in a filigreed oval in the middle of the label beneath the
18   JACK DANIEL'S mark, and to depict the words "Tennessee Sour Mash Whiskey" at the bottom

19   of the label, with the word "Tennessee" in script. There were many other ways in which the
20   elements of the label could have been depicted. The Evolution Bottle label retains and reflects

21   the design choices made decades ago .

22          9.     Exhibit 5 references quantitative and qualitative research done on behalf of

23   Brown-Forman in connection with the Evolution Bottle. I was involved in most of that research.

24   The qualitative research involving focus groups served as a "gut-check" or validation of our

25   internal design choices, including with respect to the shape of the Evolution Bottle and the label

26   changes, and our belief that the Evolution Bottle and modified label modernized the Jack

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                                            DECLARATION OF CHRISTOPHER HUNGERFORD IN SUPPORT OF
                                                          MOTION FOR PARTIAL SUMMARY JUDGMENT
           Case 2:14-cv-02057-SMM         Document 106       Filed 10/23/15     Page 6 of 6



     Daniel's Old No.7 whiskey packaging while retaining the elements familiar to consumers from

 2   use for decades.
 3          10.    I am familiar with the packaging of competitive whiskeys. There are a multitude

 4   of alternative designs available for use and actually in use. Attached hereto as Exhibit 6 is a

 5   photograph showing an array of whiskeys currently sold in the United States. These products

 6   reflect different aesthetic design choices for their packaging from the ones made in connection

 7   with Jack Daniel's Old No.7 whiskey . There are some other whiskeys, such as the Evan

 8   Williams product shown on Exhibit 6, that are sold in packaging that embodies a square-shaped
 9   bottle, a black cap, a black neck wrap, and a white-on-black labelling color scheme, either alone

10   or in combination, but they too involve different aesthetic design choices from the design

11   choices reflected in the packaging for Jack Daniel's Old No . 7 whiskey.
12          I declare under penalty of pe1jury under the laws of the United States of America that the

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                                            DECLARATION OF CHRISTOPHER HUNGERFORD IN SUPPORT OF
                                                          MOTION FOR PARTIAL SUMMARY JUDGMENT
